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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY


901 ERNSTON ROAD LLC,                            Civil Action No.: 3:18-cv-02442-AET-TJB

                          Plaintiff,

                 v.                                ORDER GRANTING PRELIMINARY
                                                       INJUNCTION, DIRECTING
BOROUGH OF SAYREVILLE ZONING                      ISSUANCE OF NECESSARY ZONING
BOARD OF ADJUSTMENT; and                             APPROVALS AND ENJOINING
BOROUGH OF SAYREVILLE,                               DISCRIMINATORY CONDUCT

                          Defendants.


          THIS MATTER having come before the Court on the application (the “Application”) of

Plaintiff, 901 Ernston Road LLC (“Plaintiff”), through its attorneys, Marino, Tortorella & Boyle,

P.C. (Kevin H. Marino, Esq., appearing) and Kaufman, Coren & Ress, P.C. (Steven M. Coren,

Esq., appearing), for entry of an Order requiring Defendants, Borough of Sayreville Zoning

Board of Adjustment and Borough of Sayreville (collectively, “Defendants”), to show cause why

the Court should not grant a preliminary injunction (a) directing Defendants to issue all zoning

approvals necessary for the construction and operation of a proposed residential drug and alcohol

treatment facility (the “Facility”) at 901 Ernston Road, Borough of Sayreville, County of

Middlesex, State of New Jersey (Block 438, lot 1, Block 452, lot 1, as shown on the current tax
*
    Pro hac vice applications to be submitted.
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map of the Borough of Sayreville) (the “Property”); and (b) enjoining Defendants from

persisting in discriminatory conduct designed to thwart the construction and operation of the

Facility at the Property; and the Court having entered the Order to Show Cause requested by the

Application, and considered the submissions of the parties and argument of counsel on the Order

to Show Cause; and good cause having been shown;

       IT IS on this _____ day of ___________________, 2018, ORDERED that Plaintiff be

and hereby is GRANTED the requested preliminary injunction; and

       IT IS FURTHER ORDERED AND DECLARED that Defendants be and hereby are

directed to issue all zoning approvals necessary for the construction and operation of the Facility

at the Property; and

       IT IS FURTHER ORDERED AND DECLARED that Defendants be and hereby are

preliminarily enjoined from persisting in discriminatory conduct designed to thwart construction

and operation of the Facility at the Property.




                                                 _________________________________________
                                                 HONORABLE ANNE E. THOMPSON, U.S.D.J.




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